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 1                                 UNITED STATES DISTRICT COURT
 2                                EASTERN DISTRICT OF CALIFORNIA
 3

 4   UNITED STATES OF AMERICA,                            CASE NO. 1:14-CR-00189-AWI-BAM-2
 5                           Plaintiff
                                                          ORDER GRANTING DEFENDANT’S
 6                   v.                                   UNOPPOSED MOTION TO STAY
                                                          RESTITUTION PENDING APPEAL
 7   HOLLY GITMED,
 8                           Defendant                    (Doc. No. 105)
 9

10            On September 14, 2015, Defendant Holly Gitmed filed a motion to stay her obligation to
11   pay $832.58 restitution, while her appeal is pending. See Doc. No. 105. This motion was filed
12   pursuant to Fed. R. Crim. Pro. 38(e)(1). Gitmed’s motion indicates that it is not an attempt to have
13   the Court reconsider the merits of its rulings in this case. See id. On October 2, 2015, the United
14   States filed a notice of non-opposition. See Doc. No. 113.
15            Whether to grant a stay under Criminal Rule 38(e) is a discretionary decision. United
16   States v. Hill, 167 F.3d 1055, 1074 (6th Cir. 1999). In light of the arguments made by Gitmed,
17   and the United States’s notice of non-opposition, the Court finds that a stay of restitution is
18   appropriate.
19                                                 ORDER
20            Accordingly, IT IS HEREBY ORDERED that:
21   1.       Defendant’s unopposed motion to stay restitution is GRANTED; and
22   2.       Defendant Holly Gitmed’s obligation to pay $832.68 restitution is STAYED pending her
23            appeal in this matter.
24
     IT IS SO ORDERED.
25

26   Dated:    October 2, 2015
                                                  SENIOR DISTRICT JUDGE
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